Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 1 of 122 PageID: 130




                        EXHIBIT E
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 2 of 122 PageID: 131


                                            Trademark Trial and Appeal Board Electronic Filing System. http://estta.uspto.gov
                                                                  ESTTA Tracking number:           ESTTA838071
                                                                                Filing date:         08/07/2017
                      IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                        BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD
     Proceeding       92066369
     Party            Defendant
                      William H. Howard DBA The Ebonys
     Correspondence   WILLIAM H HOWARD
     Address          104 S GLENWOOD AVE
                      ALDAN, PA 19018
                      UNITED STATES
                      Email: whoward123@comcast.net
     Submission       Motion for Summary Judgment

                      Yes, the Filer previously made its initial disclosures pursuant to Trademark Rule
                      2.120(a); OR the motion for summary judgment is based on claim or issue pre-
                      clusion, or lack of jurisdiction.

                      The deadline for pretrial disclosures for the first testimony period as originally set
                      or reset: 10/06/2017
     Filer's Name     Moshe D. Lapin
     Filer's email    moshe@lapinlegal.com
     Signature        /MDL/
     Date             08/07/2017
     Attachments      THE EBONYS Motion for Summary Judgment with Exhibits.pdf(5804342 bytes )
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 3 of 122 PageID: 132


              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD



  ___________________________________
                                     )
                                     )
  David S Beasley                    )
                                     )
                     Petitioner,     )
                                     )
         Vs.                         )                Cancellation No. 92066369
                                     )
  William H. Howard DBA The Ebonys   )
                                     )
                     Registrant.     )
  __________________________________ )


                          MOTION FOR SUMMARY JUDGMENT
                                    BASED UPON
                      RES JUDICATA AND COLLATERAL ESTOPPEL

         Pursuant to Rules 56 of the Federal Rules of Civil Procedure and Trademark Trial and

  Appeal Board Manual of Procedure (“T.B.M.P.”) 528, Registrant William H. Howard

  (“Registrant””) hereby moves the Board for an order DISMISSING the Petition for Cancellation

  in favor of Registrant based on Res Judicata and Collateral Estoppel.

         A Motion for Summary Judgment is generally improper prior to disclosures. However,

  because the basis for this motion is issue and claim preclusion, this motion is timely filed.

  Unrock Network, LLC v. Sulpasso, 115 USPQ2d 1409, 1410 n.5 (TTAB 2015) (motion to

  dismiss considered as one for summary judgment where it asserts claim preclusion); Compagnie

  Gervais Danone v. Precision Formulations LLC, 89 USPQ2d 1251, 1255 n.7 (TTAB 2009) (“if a

  party moves for summary judgment prior to the deadline for making initial disclosures it should

  indicate in its motion that the disclosures have been made, or are not required because the motion



                                                                                                  1
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 4 of 122 PageID: 133


  seeks judgment on claim or issue preclusion or on a jurisdictional issue”); NH Beach Pizza LLC

  v. Cristy’s Pizza Inc., 119 USPQ2d 1861, 1862 n.1 (TTAB 2016) (construing motion to dismiss

  filed in lieu of answer as motion for summary judgment on issue preclusion).

           I.        INTRODUCTION AND SUMMARY OF THE ARGUMENT

           Petitioner’s Petition for Cancellation in this Cancellation No. 92066369 (the

  “Cancellation Petition”) should be dismissed because the claims and issues raised in this

  proceeding have already been fully and finally adjudicated against Petitioner. The Petitioner has

  already had his day in court – and lost. The instant Cancellation Petition raises the same issues

  and claims that were (or should have been) previously raised in David S. Beasley v. William H.

  Howard DBA The Ebonys, Cancellation No. 92057071 (hereinafter the “Prior Action”).1 The

  parties in this proceeding are identical to the parties in the Prior Action; the trademark at issue

  here is the identical trademark at issue in the Prior Action; and the issues and claims raised in

  this proceeding are identical to those issues and claims that were (or should have been raised) in

  the Prior Action.

           Attached as Exhibit A is the Boards final decision in the Prior Action; attached as Exhibit

  B is Petitioner’s Amended Petition in the Prior Action; attached as Exhibit C is the evidence

  submitted by Petitioner in the Prior Action; attached as Exhibit D is Petitioner’s “Motion for

  Cancellation” in the Prior Action; and attached as Exhibit E is Petitioner’s final brief in the Prior

  Action. All the exhibits are incorporated by reference, and all contain evidence directly relevant

  to the question of claim and issue preclusion, especially to the scope of the “transactional facts”

  1
    Registrant requests that the Board take judicial notice of the documents of record in the Prior Action. Ambase
  Corp. v. City Investing Co. Liquidating Trust, 326 F.3d 63, 72 (2d Cir. 2003) (taking judicial notice of court records
  to determine res judicata effect of earlier action); Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d Cir. 1991)
  (“[C]ourts routinely take judicial notice of documents filed in other courts ... not for the truth of the matters asserted
  in the other litigation, but rather to establish the fact of such litigation and related filings.”); Rene v. Jablonski, 2009
  WL 2524865, at *8 (E.D.N.Y. Aug. 17, 2009) (“Furthermore, in evaluating the res judicata effect of a prior action,
  ‘courts routinely take judicial notice of documents filed in other courts, again not for the truth of the matters asserted
  in the other litigation, but rather to establish the fact of such litigation and related findings’”).


                                                                                                                            2
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 5 of 122 PageID: 134


  in the Prior Action. The exhibits clearly show that the claims made by Petitioner in this

  proceeding arise from the same transactional facts alleged in the Prior Action.

         Unlike issue preclusion, the doctrine of claim preclusion is also available where a claim

  could have been raised in the prior action. See Pactiv Corp. v. Dow Chem. Co., 78 USPQ2d

  1939, 1941; Urock Network, LLC v. Sulpasso, 115 USPQ2d 1409, 1412 (TTAB 2015) (claim

  preclusion extends to relitigation of “claims that were raised or could have been raised in an

  earlier action” (quoting Allen v. McCurry, 449 US 90, 94 (1980) (emphasis added)); Bacardi &

  Co. Ltd. v. Ron Castillo, S.A., 178 USPQ 242, 244 (TTAB 1973); see also Vitaline Corp. v.

  General Mills Inc., 891 F.2d 273, 13 USPQ2d 1172, 1173-74 (Fed. Cir. 1989). see also Migra v.

  Warren City School Dist. Bd. of Educ., 465 U.S. 75, 77 n.1 (1984) (“Claim preclusion refers to

  the effect of a judgment in foreclosing litigation of a matter that never has been litigated, because

  of a determination that it should have been advanced in an earlier suit.”); Aspex Eyewear Inc. v.

  Marchon Eyewear Inc., 101 USPQ2d 2015, 2020 (Fed. Cir. 2012) (“claim splitting is forbidden

  by the principles of res judicata.”); Perma Ceram Enters. Inc. v. Preco Indus. Ltd., 23 USPQ2d

  1134, 1138 (TTAB 1992).

         Even if a cause of action raised in this proceeding was not raised in the Prior Action,

  there is no genuine issue that Petitioner’s claims in this proceeding are based on the same

  transactional facts as, and could have been litigated in, the Prior Action. Accordingly, claim

  preclusion applies to all the claims made in this proceeding. See Sharp Kabushiki Kaisha v.

  Thinksharp, Inc., 448 F.3d 1368, 1370 (Fed. Cir. 2006) (where second claim is based on the

  same transactional facts as the first, claim should have been raised in the previous proceeding).

  Moreover, the Board already ruled in the Prior Action that “[s]ince no other grounds were

  pursued nor pleaded with particularity, we consider any such grounds to have been




                                                                                                     3
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 6 of 122 PageID: 135


  waived.” TTAB Decision in David S. Beasley v. William H. Howard DBA The Ebonys,

  Cancellation No. 92057071, Footnote 2.

             Now, after Petitioner was soundly defeated in the Prior Action, he is attempting to

  breathe life back into this Cancellation. As Chief Judge Alex Kozinski of the Ninth Circuit Court

  of Appeals recently stated, “At some point, litigation must come to an end. That point has now

  been reached.”2 That sentiment applies with powerful force here. As the law and common sense

  dictate, this Cancellation proceeding must be dismissed.

             II.      FACTUAL AND PROCEDURAL HISTORY

             On April 18, 2013, in the Prior Action, Petitioner filed his first Petition for Cancellation

  of the identical registration at issue here, also against the identical Registrant William H. Howard

  DBA The Ebonys. In his Petition in the Prior Action, Petitioner alleged a range of grounds for

  cancellation, including the fact that “William Howard is not a [sic] original member or on any

  original recording of the Ebonys singing/performing group that was formed in 1969. William

  Howard should not perform or record under this name. (The Ebonys/Ebonys).” After the Board

  notified Petitioner that the Petition did not conform with the TTAB requirements, Petitioner filed

  an Amended Petition to Cancel on July 8, 2013 (the “Amended Petition”). See Exhibit B. The

  Amended Petition set forth the following allegations:

                      1. The Ebonys were formed in 1969 by David Beasley/petitioner and

             consist of three vocalists including himself; James Tuten (deceased) Clarence

             Vaughn and Jennifer Holmes.

                      2. The Ebonys were officially signed with Assorted Music Records dba

             Philadelphia International Records in January 1971 and continue to receive

             quarterly royalty statements.

  2
      Facebook, Inc. v. Pac. Northwest Software, Inc., 640 F.3d 1034, 1042 (9th Cir. 2011).


                                                                                                       4
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 7 of 122 PageID: 136


                 3. Registrant was not and is not an original member or performed on any

         original live recordings of The Ebonys singing/performing group.

                 4. David Beasley/petitioner registered “The Ebonys” with the State of

         New Jersey as Class 041 in 1997.

                 5. David Beasley/petitioner continues to manage goods and services

         involving the name “The Ebonys”. David Beasley/petitioner manages

         entertainment services in the nature of live performances by vocalist;

         entertainment in the nature of vocal music groups; and live performances by

         musical groups.

                 6. David Beasley/petitioner never relinquished in writing or verbally his

         rights of the “The Ebonys” name to registrant, any other individual and/or group

         to provide profit to themselves for services or goods.

                 7. David Beasley/petitioner continues with on-going projects as an original

         member/owner of the “The Ebonys”.

  Id. The allegations were further developed by Petitioner in its evidentiary submissions in the

  Prior Action (see Exhibit C) and in its briefs (see Exhibits D and E).

         In addition to alleging the above listed facts, the Petition also alleged in the Amended

  Petition that Registrant committed “fraud in in procuring a trademark registration occurs when

  an applicant knowingly makes false, material representations of fact in connection with the

  trademark application.” Id.

         In the Prior Action, Petitioner, in addition to other evidence, submitted a state service

  mark registration issued by the State of New Jersey for “The Ebonys,” listing Petitioner as

  owner, with the filing date listed as March 7, 2003; a Management contract between




                                                                                                5
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 8 of 122 PageID: 137


  Petitioner, as “Owner of The Ebonys,” and Forrest Finney and Michael Mackintosh, dated

  October 1, 2007; and a flyer advertising a concert by Ebony’s Revue. See Exhibit B.

          On December 9, 2014, the Board, after reviewing the pleadings and evidence, dismissed

  the Petition for Cancellation. See Exhibit A.

          Two and half years after the Board dismissed Petitioner’s Prior Action, Petitioner again

  filed a Petition for Cancellation against Registrant on the same trademark on June 28, 2017. The

  grounds for cancellation are again identified as fraud on the USPTO, the same issue and claim

  raised in the Prior Action which the Board reviewed and dismissed. Paragraphs 10 through 18 of

  the instant Petition for Cancellation are allegations relating to the fraud issue – already decided

  by the Board in the Prior Action.

          Though not listed in his coversheet, Paragraphs 1 through 9 of the instant Cancellation

  Petition allege that the trademarks are confusingly similar. Comparing the allegations in the

  instant Petition with the Amended Petition and evidence submitted in the Prior Action, it is

  obvious that there is no genuine issue that claims made in the instant Petition are based on the

  same transactional facts as those raised previously, and should have clearly been raised in the

  Prior Action. Petitioner is merely calling the same thing by a different name. “Claim preclusion,

  where found, operates to bar subsequent assertion of the same transactional facts in the form of a

  different cause of action or theory of relief. Generally, this principle rests on the assumption that

  all forms of relief could have been requested in the first action.” Young Eng’rs, Inc. v. United

  States ITC, 721 F.2d 1305, 1314 (Fed. Cir. 1983); Aspex Eyewear Inc. v. Marchon Eyewear Inc.,

  101 USPQ2d 2015, 2020 (Fed. Cir. 2012) (“claim splitting is forbidden by the principles of res

  judicata.”).




                                                                                                     6
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 9 of 122 PageID: 138


          The Board’s language in its Orouba Agrifoods Processing Company v. United Food

  Import (Cancellation No. 92050739) decision just as easily could have been written about this

  case:

                 Finally, there is no genuine issue that petitioner’s claims in this proceeding
                 are based on the same transactional facts as, and could have been litigated
                 in, the prior opposition. Indeed, the prior opposition, like this proceeding,
                 is based on petitioner’s allegations of ownership and use of [its
                 trademark]. Here, while the grounds for the prior opposition did not
                 include priority and likelihood of confusion, false suggestion of a
                 connection or misrepresentation of source, all of these claims are based
                 on the same facts alleged in the opposition, perhaps with slightly more
                 detail.

  Id. (Emphasis added).

          III.   LEGAL STANDARD

          A party is entitled to summary judgment when it has demonstrated that there are no

  genuine issues as to any material fact, and that it is entitled to judgment as a matter of law. Fed.

  R. Civ. P. 56(c); Celotex Coro. v. Catrett, 477 U.S. 317, 106 S. Ct. 2548 (1986).

          The Federal Courts and the TTAB have recognized that “summary judgment is a salutary

  method of disposition designed to secure the just, speedy and inexpensive determination of every

  action. Sweats Fashion Inc. v. Pannill Knitting Co., 833 F.2d 1560, 1562 (Fed. Cir. 1987); see

  Turner Entm’t Co. v. Nelson, 38 U.S.P.Q.2d 1942, 1944 (TTAB 1996) (“the purpose of summary

  judgment is one of judicial economy, that is, to save the time and expense of a useless trial.”).

          IV.    CANCELLATION PETITION IS BARRED BY CLAIM PRECLUSION

          A.     Res Judicata – Relevant Law

          The doctrine of res judicata or claim preclusion serves to preclude a party from

  relitigation of the same claim in a subsequent proceeding involving the same parties based on

  entry of a final judgment “on the merits” in a proceeding, even if the prior judgment was a

  result of a default or consent. See Lawlor v. Nat'l Screen Service, Corp., 349 U.S. 322, 75 S.Ct.

                                                                                                         7
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 10 of 122 PageID: 139


  865 (1955); Chromalloy Am. Corp. v. Kenneth Gordon, Ltd., 736 F.2d 694, 222 USPQ 187 (Fed.

  Cir. 1984); Flowers Indus., Inc. v. Interstate Brands Corp., 5 USPQ2d 1580, 1583 (TTAB 1987).

         For the doctrine of res judicata to apply, there must be (1) the same identity of parties or

  their privies for the first and second claim; (2) the second claim must be based on the same

  transactional facts as the first; and (3) a final judgment on the merits of the prior claim. Parklane

  Hosiery Co. v. Shore, 439 U.S. 322, 327 n.5 (1979); Jet, Inc. v. Sewage Aeration Sys., 223 F.3d

  1360, 1362 (Fed. Cir. 2000).

         It is critical to note that, unlike collateral estoppel which requires a final judgment on

  each issue to which collateral estoppel will apply, res judicata does not require a final judgment

  on every claim subsequently made. Rather, there must have been “a” final judgment in the

  previous proceeding. The previous judgment will then preclude ALL claims that could have

  been raised, even if they were not, in the prior action See Perma Ceram Enters. Inc. v. Preco

  Indus. Ltd., 23 U.S.P.Q.2d 1134, 1138 (TTAB 1992); Young Engineers, Inc. v. U.S. International

  Trade Commission, 721 F.2d 1305, 1314 (Fed. Cir. 1983) (“issue preclusion operates only as to

  issues actually litigated, whereas claim preclusion may operate between the parties simply by

  virtue of the final judgment”); Pactiv Corp. v. Dow Chem. Co., 78 USPQ2d 1939, 1941; Urock

  Network, LLC v. Sulpasso, 115 USPQ2d 1409, 1412 (TTAB 2015) (claim preclusion extends to

  relitigation of “claims that were raised or could have been raised in an earlier action” (quoting

  Allen v. McCurry, 449 US 90, 94 (1980) (emphasis added)); Bacardi & Co. Ltd. v. Ron Castillo,

  S.A., 178 USPQ 242, 244 (TTAB 1973); see also Vitaline Corp. v. General Mills Inc., 891 F.2d

  273, 13 USPQ2d 1172, 1173-74 (Fed. Cir. 1989). see also Migra v. Warren City School Dist. Bd.

  of Educ., 465 U.S. 75, 77 n.1 (1984) (“Claim preclusion refers to the effect of a judgment in

  foreclosing litigation of a matter that never has been litigated, because of a determination that it

  should have been advanced in an earlier suit.”); Aspex Eyewear Inc. v. Marchon Eyewear Inc.,

                                                                                                     8
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 11 of 122 PageID: 140


  101 USPQ2d 2015, 2020 (Fed. Cir. 2012) (“claim splitting is forbidden by the principles of res

  judicata.”); Sharp Kabushiki Kaisha v. Thinksharp, Inc., 448 F.3d 1368, 1370 (Fed. Cir. 2006)

  (for claim preclusion to apply, “the second claim must be based on the same transactional facts

  as the first and should have been litigated in the prior case.”).


         The concept of a “claim”, for purposes of determining what constitutes the same

  transactional facts, is explained in § 24 of the Restatement (Second) of Judgments as follows:

                 (1) When a valid and final judgment rendered in an action extinguishes the
                 plaintiff’s claim pursuant to the rules of merger or bar, the claim
                 extinguished includes all rights of the plaintiff to remedies against the
                 defendant with respect to all or any part of the transaction, or series of
                 connected transactions, out of which the action arose.

                 (2) What factual grouping constitutes a “transaction”, and what grouping
                 constitutes a “series”, are to be determined pragmatically, giving weight to
                 such considerations as whether the facts are related in time, space, origin,
                 or motivation, whether they form a convenient trial unit, and whether their
                 treatment as a unit conforms to the parties' expectations or business
                 understanding or usage.
  (Emphasis added).


         “Claim preclusion, where found, operates to bar subsequent assertion of the same

  transactional facts in the form of a different cause of action or theory of relief. Generally, this

  principle rests on the assumption that all forms of relief could have been requested in the first

  action.” Young Eng’rs, Inc. at 1314 (Fed. Cir. 1983).


         B.      Application of Law to Facts

                 1. The first element of claim preclusion is met because the named
                    parties in this Cancellation proceeding are the identical parties
                    named in Prior Action.

         As to the first element of claim preclusion, the parties to this proceeding and the parties

  in the Prior Action are exactly the same. This Cancellation proceeding is between David S.



                                                                                                   9
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 12 of 122 PageID: 141


  Beasley and William H. Howard DBA The Ebonys; the Prior Action was also between David S.

  Beasley and William H. Howard DBA The Ebonys. See Exhibit B; Jet, Inc. v. Sewage Aeration

  Sys., 223 F.3d 1360, 1363 (Fed. Cir. 2000) (when the parties to both claims are identical, the first

  element has been met).

                 2. The second element of claim preclusion is met because the
                    Cancellation Petition and the Prior Action are based on the
                    same set of transactional facts.

         As to the second element of claim preclusion, the Cancellation Petition is based on the

  same transactional facts as the Prior Action. In determining whether the same set of transactional

  facts are present, the Federal Circuit considers whether the facts are related in time, space, origin,

  or motivation, whether they form a convenient trial unit, and whether their treatment as a unit

  conforms to the parties’ expectations or business understanding or usage. Phillips/May Corp. v.

  U.S., 524 F.3d 1264, 1271 (Fed. Cir. 2008). A review of Petitioner’s submissions in the Prior

  Action (Exhibits B, C, D and E) makes obvious that the claims here arise from the same

  transactional facts as the Prior Action.

         The facts alleged by Petitioner in its Cancellation Petition and in the Prior Action are

  related in time, space, origin, motivation and they form a convenient trial unit. In fact, the

  alleged facts are identical. In his Amended Petition in the Prior Action, Petitioner alleged and

  provided evidence of the following: (1) that Petitioner formed The Ebonys (with submitted

  evidence that he was using “THE EBONYS” long before Registrant); (2) that THE EBONYS

  was in use by Petitioner at least as early as 1971; (3) that Registrant does not have a right to use

  THE EBONYS (by virtue of the fact that he was not an original band member); (4) that

  Petitioner obtained a New Jersey trademark registration for THE EBONYS (and by virtue of that

  also had senior rights to the trademark over Registrant); (5) that Petitioner continues to use THE




                                                                                                     10
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 13 of 122 PageID: 142


  EBONYS for entertainment services, including live performances; (6) that Petitioner never gave

  Registrant a right to use THE EBONYS; and (7) that Petitioner continues to use THE EBONYS.

         In addition, at the beginning of his Amended Petition (in the Prior Action), Petitioner

  alleged that Registrant committed fraud in procuring the trademark because Registrant

  knowingly made false, material representations of fact in connection with the trademark

  application. See Exhibit B.

         Though presented in a more traditional format and with a bit more detail, the instant

  Cancellation Petition raises nothing new that was not already alleged in the Prior Action, and

  certainly nothing new that arises out of different transaction facts. Paragraph 1 of the

  Cancellation Petition was covered in Paragraphs 2 and 7 of the Amended Petition in the Prior

  Action; Paragraph 3 of the Cancellation Petition is a statement of law, not an allegation of fact –

  it is based on the same “transactional facts” already alleged in the Prior Action; Paragraph 4 of

  the Cancellation Petition was covered in Paragraphs 2 and 7 of the Amended Petition in the Prior

  Action; Paragraph 5 of the Cancellation Petition raises no facts that are not part of the

  “transactional facts” already alleged in the Prior Action; Paragraph 6 of the Cancellation Petition

  was covered in Paragraphs 2, 3, 4, 5 and 7 of the Amended Petition in the Prior Action;

  Paragraph 7 of the Cancellation Petition was covered in Paragraph 5 of the Amended Petition in

  the Prior Action; Paragraphs 8 and 9 of the Cancellation Petition raise no facts that are not part of

  the “transactional facts” already alleged in the Prior Action.

         Paragraphs 10 through 18 of the Cancellation Petition are all statements made in support

  of Petitioner’s “fraud” cause of action. This cause of action, however, was already alleged and

  litigated in the Prior Action. Specifically, the Amended Petition in the Prior Action stated as

  grounds for cancellation the following: “Fraud in procuring a trademark registration occurs when

  an applicant knowingly makes false, material representations of fact in connection with the

                                                                                                    11
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 14 of 122 PageID: 143


  trademark application.” See Exhibit B. The allegations made in the Cancellation Petition are

  certainly more specific – but they form the same fraud claim already alleged and litigated in the

  Prior Action. (The Board dealt with almost the same situation in Orouba Agrifoods Processing

  Company v. United Food Import (Cancellation No. 92050739), where it granted defendant’s

  Motion for Summary Judgment based on claim preclusion).

         In sum, the Prior Action alleged that Registrant committed fraud, that Petitioner is the

  sole rightful owner of the trademark, and that Registrant does not have rights to the trademark.

  These are the same allegations that are being made in the instant proceeding, and the facts that

  form the basis for the instant Cancellation Proceeding arise from the same “transactional facts”

  alleged (and covered in the evidence provided) in the Prior Action. Moreover, we are dealing

  here with the identical trademark registration, the identical services, and the identical parties.

                 3. The third element of claim preclusion is met because a final
                    judgment was rendered in the Prior Action against Petitioner.

         Registrant obtained a final judgment against Petitioner in the Prior Action. Res judicata

  does not require a final judgment on every claim subsequently made. Rather, there must have

  been “a” final judgment in the previous proceeding. The previous judgment will then preclude

  ALL claims that could have been raised, even if they were not, in the prior action See Perma

  Ceram Enters. Inc. v. Preco Indus. Ltd., 23 U.S.P.Q.2d 1134, 1138 (TTAB 1992); Young

  Engineers, Inc. v. U.S. International Trade Commission, 721 F.2d 1305, 1314 (Fed. Cir. 1983)

  (“issue preclusion operates only as to issues actually litigated, whereas claim preclusion may

  operate between the parties simply by virtue of the final judgment”); Pactiv Corp. v. Dow Chem.

  Co., 78 USPQ2d 1939, 1941; Urock Network, LLC v. Sulpasso, 115 USPQ2d 1409, 1412 (TTAB

  2015) (claim preclusion extends to relitigation of “claims that were raised or could have been

  raised in an earlier action” (quoting Allen v. McCurry, 449 US 90, 94 (1980) (emphasis added));



                                                                                                       12
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 15 of 122 PageID: 144


  Bacardi & Co. Ltd. v. Ron Castillo, S.A., 178 USPQ 242, 244 (TTAB 1973); see also Vitaline

  Corp. v. General Mills Inc., 891 F.2d 273, 13 USPQ2d 1172, 1173-74 (Fed. Cir. 1989). see also

  Migra v. Warren City School Dist. Bd. of Educ., 465 U.S. 75, 77 n.1 (1984) (“Claim preclusion

  refers to the effect of a judgment in foreclosing litigation of a matter that never has been

  litigated, because of a determination that it should have been advanced in an earlier suit.”); Aspex

  Eyewear Inc. v. Marchon Eyewear Inc., 101 USPQ2d 2015, 2020 (Fed. Cir. 2012) (“claim

  splitting is forbidden by the principles of res judicata.”); Sharp Kabushiki Kaisha v. Thinksharp,

  Inc., 448 F.3d 1368, 1370 (Fed. Cir. 2006) (for claim preclusion to apply, “the second claim

  must be based on the same transactional facts as the first and should have been litigated in the

  prior case.”).

          V.       CANCELLATION PETITION IS BARRED BY ISSUE PRECLUSION

          A.       Collateral Estoppel – Relevant Law

          An additional and independent basis to dismiss Petitioner’s Cancellation Petition is issue

  preclusion (at least with respect to the fraud claim). Even where claim preclusion does not apply

  (here it does), “the particular facts of certain cases may allow for the use of issue preclusion to

  bar relitigation . . . .” Jet, Inc. v. Sewage Aeration Sys., 223 F.3d 1360, 1365 (Fed. Cir. 2000); see

  also Stephen Slesinger, Inc. v. Disney Enters., Inc., 2011 WL 2489755, at * 3-7 (TTAB June 8,

  2011) (precluding relitigation of issues determined in Civil Action that were raised again during

  cancellation proceeding). The underlying rationale of issue preclusion is that “a party who has

  litigated an issue and lost should be bound by that decision and cannot demand that the issue be

  decided again.” Slesinger, Inc., 2011 WL 2489755 at *4.

          The doctrine of issue preclusion, which serves to bar the revisiting of issues that have

  been already fully litigated, has four elements: “(1) identity of the issues in a prior proceeding;

  (2) the issues were actually litigated; (3) the determination of the issues was necessary to the

                                                                                                     13
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 16 of 122 PageID: 145


  resulting judgment; and (4) the party defending against preclusion had a full and fair opportunity

  to litigate the issues.” Jet, Inc., 223 F.3d. at 1366.

           B.     Collateral Estoppel – Application to Facts

                  1. The first element of issue preclusion is met because at least
                     some of the issues in the Prior Action and this Cancellation
                     proceeding are the same.

           As to the first element of issue preclusion, the issues of fraud and ownership of the

  trademark are the same issues that were litigated in the Prior Action. Thus, the same issues are

  present in this Cancellation proceeding as were present in the Prior Action.

                  2. The second element of issue preclusion is met, at least with
                     respect to the fraud issue, because the issues were fully
                     litigated in the Prior Action.

           As to the second element of issue preclusion, the specific issues Petitioner raises in its

  Cancellation Petition were fully litigated in the Prior Action. At the very least, the fraud issue

  was fully litigated in the Prior Action.

                     3. The third element of issue preclusion is met because the
                        issues decided in the Prior Action were necessary to the
                        judgment there.

           As to the third element of issue preclusion, the issues decided in the Prior Action were

  necessary to the judgment there. For the court to dismiss Petitioner’s Amended Petition, it was

  necessary for the Board to determine that Petitioner did not present sufficient evidence to satisfy

  the elements of the claim(s). At the very least, this element is satisfied with respect to the fraud

  claim.

                      4. The fourth element of issue preclusion is met because
                         Petitioner had a full and fair opportunity to litigate the
                         issues in the Prior Action.

           As to the fourth and last element of issue preclusion, Petitioner had a full and fair

  opportunity to litigate the exact same issues that it raises in its Cancellation Petition. In light of

                                                                                                        14
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 17 of 122 PageID: 146


  the foregoing, Petitioner should be collaterally estopped from relitigating the same issues during

  this Cancellation proceeding.

         VI.     CONCLUSION

         For the foregoing reasons, Petitioner’s Cancellation Petition should be dismissed on the

  grounds of claim and issue preclusion. The exact same claims and issues asserted in the

  Cancellation Petition were raised, fully litigated and adjudged on the merits against Petitioner in

  Cancellation Proceeding No. 92057071. Even if the Board finds that issue preclusion does not

  apply to all of the issues, Registrant respectfully submits that claim preclusion will apply to all of

  the claims made in this Cancellation Proceeding because all of the claims in this proceeding were

  alleged in the Prior Action, and all of the claims made in this proceeding arise from the

  “transactional facts” raised in the Prior Action.



         Dated this 7th Day of August, 2017.




  _________________________
  Moshe D. Lapin
  LAPIN LAW FIRM
  300 E. Lombard St.
  Suite 840
  Baltimore, MD 21202
  Moshe@LapinLegal.com




                                                                                                     15
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 18 of 122 PageID: 147




                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and complete copy of the foregoing Motion for Summary
   Judgment has been served on Petitioner by emailing said copy on August 7, 2017 to the
   following email address(es):


                uccupk@aol.com, jeffrey@jacobsonfirm.com




  Moshe D. Lapin
  Lapin Law Firm
  300 E. Lombard St.
  Suite 840
  Baltimore, MD 21202
  Moshe@LapinLegal.com




                                                                                        16
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 19 of 122 PageID: 148


                           CERTIFICATE OF ELECTRONIC FILING

         I hereby certify that the foregoing Motion for Summary Judgment is being submitted
   electronically through the Trademark Trial and Appeal Board’s ESTTA System on this 7th day
   of August, 2017.




   Moshe D. Lapin
   Lapin Law Firm
   300 E. Lombard St.
   Suite 840
   Baltimore, MD 21202




                                                                                          17
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 20 of 122 PageID: 149




                                  EXHIBIT A

                      December 9, 2014 TTAB DECISION

            David S. Beasley v. William H. Howard d/b/a The Ebonys

                           Cancellation No. 92057071
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 21 of 122 PageID: 150




                                  This Opinion is Not a
                                 Precedent Of The TTAB

                                                              Mailed: December 9, 2014

                  UNITED STATES PATENT AND TRADEMARK OFFICE
                                             _____

                            Trademark Trial and Appeal Board
                                         _____

                                     David S. Beasley
                                              v.
                        William H. Howard d/b/a The Ebonys
                                             _____

                                 Cancellation No. 92057071
                                           _____

     David S. Beasley, pro se.

     William H. Howard, d/b/a The Ebonys, pro se.
                                      _____

     Before Zervas, Ritchie and Adlin, Administrative Trademark Judges.

     Opinion by Ritchie, Administrative Trademark Judge:

         This is a cancellation proceeding in which Mr. David S. Beasley

     (Petitioner) seeks to cancel Registration No. 4170469, owned by Mr. William

     H. Howard, d/b/a The Ebonys (Respondent), for The Ebonys,1 in standard

     character format, on the Principal Register, for “entertainment services in

     the nature of live performances by singing vocalists; entertainment in the



     1Registered on the Principal Register on July 10, 2012, alleging dates of first use on
     April 17, 1998, and first use in commerce in 2003.
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 22 of 122 PageID: 151
     Cancellation No. 92057071


     nature of vocal musical group; live performances by a musical group,” in

     International Class 41.

         The sole pleaded ground for cancellation is fraud.2 Specifically, Petitioner

     alleges that he is an original member of the group The Ebonys, which

     “continu[es] to receive quarterly royalty statements.” (petition at para. 1, 2).

     He further alleges that Respondent is not an “original member” and did not

     perform “any original live recordings.” Id., at para 3. Petitioner alleges that

     he “continues to manage goods and services involving the name “The Ebonys”

     and that he “never relinquished in writing or verbally his rights of [sic] the

     ‘The Ebonys’ name to registrant, any other individual and/or group to provide

     profit to themselves for services or goods.” Id. at paras. 5, 6. Finally,

     petitioner alleges that he “continues with on-going projects as an original

     member/owner of ‘The Ebonys.” Id., at para. 7.

         Respondent filed an answer denying the salient allegations of the petition

     and setting forth some purported “affirmative defenses,” including that

     “Petitioner failed to disclose that The Ebonys was resurrected with new

     members in 1997 and the Registrant and the Petitioner were members of

     that resurrected group.” (Answer, affirm. def, 4.c.).



     2
        With his initial petition to cancel, Petitioner checked off several grounds for
     cancellation on the ESTTA cover sheet but did not include a petition elucidating the
     grounds. In his amended petition, filed July 8, 2013, the sole ground stated was
     fraud. Since no other grounds were pursued nor pleaded with particularity, we
     consider any such grounds to have been waived. Furthermore, based on the lack of
     proper briefing and evidence, we do not find that any other claims were tried by
     implied consent.


                                              2
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 23 of 122 PageID: 152
     Cancellation No. 92057071


         Petitioner filed a paper during his briefing period through ESTTA, the

     Board’s electronic filing system, titled “Amended Petition to Cancel.” The

     ESTTA cover sheet identified the paper filed as “Brief on the Merits for

     Plaintiff.” Petitioner’s paper was not accompanied by a motion for leave to

     amend. Because Petitioner filed the paper during its briefing period and

     because the ESTTA cover sheet identified the filing as a “Brief,” we treat the

     filing as Petitioner’s brief.

     The Record

         Pursuant to Trademark Rule 2.122(b); 37 C.F.R. § 2.122(b), the record in

     this case includes the pleadings and the file of the involved registration. The

     parties both made submissions during their trial periods,3 and Petitioner

     during his rebuttal period. These consist of the following:

         During Petitioner’s Trial Period:

         1. A state service mark registration issued by the State of New Jersey for

            The Ebonys, listing Petitioner as owner, with the filing date listed as

            March 7, 2003;

         2. Management contract between Petitioner and Lynn Gross, d/b/a

            Octagon Development Group, dated November 14, 2004;



     3Petitioner submitted his Initial Disclosures, and Respondent submitted his Pretrial
     Disclosures, which need not be filed. However, since they were submitted during the
     respective trial periods, we construe them as notices of reliance. We note also that
     Petitioner attached several items to his petition and his amended petition. However,
     unless otherwise properly introduced into the record during trial, exhibits to
     pleadings are not evidence for that party, with one exception not applicable here. See
     Trademark Rule 2.122(c); 37 C.F.R. § 2.122(c)


                                               3
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 24 of 122 PageID: 153
     Cancellation No. 92057071


        3. Management contract between Petitioner, as “Owner of The Ebonys,”

           and Forrest Finney and Michael Mackintosh, dated October 1, 2007;

        4. A letter from Jeff Gandel of Royalty Recovery to Clarence Vaughan,

           dated September 14, 2010;

        5. A letter to Royalty Recovery, Inc., from Petitioner and others, dated

           September 14, 2010;

        6. A letter from Philadelphia Records, dated August 19, 2013;

        7. A Royalty Statement for the period ending June 30, 2013, for “The

           Ebonys” c/o David Beasley, from Philadelphia International Records;

           and

        8. A flyer advertising a concert by Ebony’s Revue; printed from

           http://mail.aol.com on October 5, 2013.

        During Respondent’s Trial Period:

        1. A copy of Respondent’s involved registration and information from the

           underlying application file;

        2. A copy of an article from The Philadelphia Inquirer, undated;

        3. A copy of an article from The Times, dated April 17, 1998;

        4. An autographed photograph of The Ebonys;

        5. A copy of a ticket printed from Ticketmaster.com for The Ebonys, dated

           October 10, 2000;

        6. A flyer advertising The Ebonys performing on December 31, 2003;

        7. A flyer advertising Ebony’s [undated];




                                            4
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 25 of 122 PageID: 154
     Cancellation No. 92057071


        8. A printout advertising “The Big Show” DVD featuring The Ebonys;

           printed from oldies.com, undated;

        9. A ticket and flyer advertising The Ebonys, featuring             William

           “SMOKE” Howard at The Firehouse Café, September 10, 2011;

        10. A flyer advertising The Ebonys dated October 27, 2012;

        11. A flyer advertising The Ebonys, dated September 14, 2013; and

        12. A copy of an article from What’s Inside; Spring/Summer 2012, Vol. 1,

           Issue 9.

        During Petitioner’s Rebuttal Period:

        1. Letter from Kenneth Gamble of Philadelphia International Records to

           Petitioner, dated May 12, 2014; and

        2. Letter from Philadelphia International Records dated March 3, 2014,

           and attached W-9, signed by Petitioner.

        Much of this material submitted by both parties is not suitable for the

     notice of reliance procedure. See Rule 2.122(e); 37 C.F.R. § 2.122(e)

     (permitting notice of reliance on official records, or printed publications

     “available to the general public in libraries or of general circulation”); and

     Safer Inc. v. OMS Investments Inc., 94 USPQ2d 1031, 1039 (TTAB 2010)

     (permitting notice of reliance on Internet printouts that identify the date of

     publication or date accessed as well as the website address). We note,

     however, that neither party objected to the other’s submissions, and their

     consideration does not affect the outcome of our decision. Accordingly, we




                                           5
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 26 of 122 PageID: 155
     Cancellation No. 92057071


     may include them in our analysis. See Morgan Creek Productions Inc. v. Foria

     Int’l Inc., 91 USPQ2d 1134, 1136 (TTAB 2009) (although materials were not

     properly made of record, parties treated them as such, and thus Board

     deemed the parties to have stipulated the materials into the record); Alfacell

     Corp. v. Anticancer Inc.,71 USPQ2d 1301 (TTAB 2004) (evidence not properly

     made of record deemed stipulated into the record because it was treated as

     such by the parties).

     Standing

        To establish standing, a petitioner must establish a “personal interest in

     the outcome of the proceeding” as well as “a reasonable basis for belief of

     damage.” See Books on Tape Inc. v. The Booktape Corp., 836 F.2d 519, 5

     USPQ2d 1301, 1302 (Fed. Cir. 1987) (petitioner, as a competitor of

     respondent, “clearly has an interest in the outcome beyond that of the public

     in general and has standing”). “A belief in likely damage can be shown by

     establishing a direct commercial interest.” See Cunningham v. Laser Golf

     Corp., 222 F.3d 943, 55 USPQ2d 1842, 1844 (Fed. Cir. 2000).

        We must assess whether a plaintiff is a mere intermeddler or has real

     interest in the case. See Ritchie v. Simpson, 170 F.3d 1092, 50 USPQ2d 1023

     (Fed. Cir. 1999); Lipton Indus. Inc. v. Ralston Purina Co., 670 F.2d 1024, 213

     USPQ 185 (CCPA 1982). Under this liberal standard, Petitioner has shown

     that he has a reasonable belief of damage and a real interest in this

     proceeding, because Respondent admits that Petitioner was a member of The




                                           6
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 27 of 122 PageID: 156
     Cancellation No. 92057071


     Ebonys, and the record includes Petitioner’s New Jersey service mark

     registration. Therefore Petitioner is not a mere intermeddler, and he has

     established his standing. Id.; 15 U.S.C. § 1064.

     Fraud

        The only ground alleged in the amended petition for cancellation is fraud.

     Petitioner alleges that the group The Ebonys was formed in 1969 and

     consisted of several vocalists, which included Petitioner, but did not include

     Respondent. (petition at para. 1). The amended petition further alleges that

     The Ebonys was signed to a record deal and “continu[es] to receive quarterly

     royalty payments.” Id. at para. 2; and that Respondent “was not and is not an

     original member or performed on any original live recordings of The Ebonys

     singing/performing group.” Id., at para. 3. The amended petition further

     alleges that Petitioner registered The Ebonys with the State of New Jersey in

     1997. Id., at 4.

        The Court in In re Bose Corp., 476 F.3d 1331, 91 USPQ2d 1938, 1939

     (Fed. Cir. 2009), set out the relevant standard for proving fraud:

                   “Fraud in procuring a trademark registration or
                   renewal occurs when an applicant knowingly
                   makes false, material representations of fact in
                   connection with his application.” Torres v. Cantine
                   Torresella S.r.l., 808 F.2d 46, 48 [1 USPQ2d 1483]
                   (Fed. Cir. 1986). A party seeking cancellation of a
                   trademark registration for fraudulent procurement
                   bears a heavy burden of proof. W.D. Byron & Sons,
                   Inc. v. Stein Bros. Mfg. Co., 377 F.2d 1001, 1004
                   [153 USPQ 749] (CCPA 1967). Indeed, “the very
                   nature of the charge of fraud requires that it be
                   proven ‘to the hilt’ with clear and convincing



                                            7
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 28 of 122 PageID: 157
     Cancellation No. 92057071


                  evidence. There is no room for speculation,
                  inference or surmise and, obviously, any doubt
                  must be resolved against the charging party.”
                  Smith Int'l, Inc. v. Olin Corp., 209 USPQ 1033,
                  1044 (TTAB 1981).

        Petitioner has failed to submit evidence showing that Respondent made a

     false, material representation of fact in connection with his trademark

     application, and that he did so with the intent to deceive the Trademark

     Office. The claim thus fails.


         Decision: The petition to cancel is dismissed.




                                            8
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 29 of 122 PageID: 158




                                  EXHIBIT B

                           Cancellation No. 92057071

           Amended Petition For Cancellation filed by David S. Beasley
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 30 of 122 PageID: 159


                                            Trademark Trial and Appeal Board Electronic Filing System. http://estta.uspto.gov
                                                                  ESTTA Tracking number:           ESTTA547176
                                                                                Filing date:         07/08/2013
                      IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                        BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD
     Proceeding       92057071
     Party            Plaintiff
                      David S. Beasley
     Correspondence   DAVID S BEASLEY
     Address          1801 LAUREL ROAD, UNIT 612
                      LINDENWOLD, NJ 08021
                      UNITED STATES
                      dbea856005@aol.com
     Submission       Motion to Amend Pleading/Amended Pleading
     Filer's Name     Mr. David S. Beasley
     Filer's e-mail   dbea856005@aol.com
     Signature        /David S Beasley/
     Date             07/08/2013
     Attachments      petition for cancellation-final.pdf(514364 bytes )
                      Ebony Document 1.pdf(1545326 bytes )
                      Ebony Document 2.pdf(2330300 bytes )
                      CERTIFICATE OF SERVICE.pdf(95841 bytes )
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 31 of 122 PageID: 160


                       IN THE UNITED STATES PATENT AND TRADEARK OFFICE
                       BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD,


  In the Matter of trademark Registration No. 4,170,469

  For the Mark: The Ebonys

  Petitioner
  David S. Beasley
  1801 Laurel Road Unit 612
  Lindenwold, NJ 08021

            v.

  Registrant
  William H. Howard dba The Ebonys
  104 S. Glenwood Avenue
  Aldan, PA 19018-4016

  Cancellation No. 92057071

  AMENDED PETITION TO CANCEL A TRADEMARK REGRISTRATION.

  David Beasley the petitioner believes that he will be damaged by the above-identified registration,

  and hereby petitions to cancel the same.

  The Grounds for Cancellation are as follows:

  Fraud

     Fraud in procuring a trademark registration occurs when an applicant knowingly makes false,
      material representations of fact in connection with the trademark application.


  1. The Ebonys were formed in 1969 by David Beasley/petitioner and consist of three vocalists

  including himself; James Tuten (deceased) Clarence Vaughn and Jennifer Holmes.

  2. The Ebonys were officially signed with Assorted Music Records dba Philadelphia International

  Records in January 1971 and continue to receive quarterly royalty statements.

  3. Registrant was not and is not an original member or performed on any original live recordings of

   The Ebonys singing/performing group.

  4. David Beasley/petitioner registered The Ebonys with the State of New Jersey as Class 041 in

  1997.
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 32 of 122 PageID: 161




  5. David Beasley/petitioner continues to manage goods and services involving the name The

  Ebonys . David Beasley/petitioner manages entertainment services in the nature of live

  performances by vocalist; entertainment in the nature of vocal music groups; and live performances

  by musical groups.


  6. David Beasley/petitioner never relinquished in writing or verbally his rights of the The Ebonys

  name to registrant, any other individual and/or group to provide profit to themselves for services

  or goods.

  7. David Beasley/petitioner continues with on-going projects as an original member/owner

  of the The Ebonys .




  By: David S. Beasley                                                 Date: July 8, 2013
      Petitioner
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 33 of 122 PageID: 162
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 34 of 122 PageID: 163
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 35 of 122 PageID: 164
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 36 of 122 PageID: 165
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 37 of 122 PageID: 166
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 38 of 122 PageID: 167
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 39 of 122 PageID: 168
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 40 of 122 PageID: 169
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 41 of 122 PageID: 170
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 42 of 122 PageID: 171
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 43 of 122 PageID: 172
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 44 of 122 PageID: 173
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 45 of 122 PageID: 174
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 46 of 122 PageID: 175
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 47 of 122 PageID: 176
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 48 of 122 PageID: 177
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 49 of 122 PageID: 178
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 50 of 122 PageID: 179
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 51 of 122 PageID: 180
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 52 of 122 PageID: 181
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 53 of 122 PageID: 182
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 54 of 122 PageID: 183
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 55 of 122 PageID: 184
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 56 of 122 PageID: 185
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 57 of 122 PageID: 186
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 58 of 122 PageID: 187
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 59 of 122 PageID: 188
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 60 of 122 PageID: 189
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 61 of 122 PageID: 190
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 62 of 122 PageID: 191




  CERTIFICATE OF SERVICE

  Amended petition to cancel a trademark registration
  Cancellation #92057071
  July 8, 2013

  Registrant
  Mr. William H. Howard
  104 So. Glenwood Avenue
  Aldan, PA 19018-4016

  Email address
  Whoward123@comcast.net
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 63 of 122 PageID: 192




                                  EXHIBIT C

                     Evidence Submitted by David S. Beasley
                                       in
                           Cancellation No. 92057071
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 64 of 122 PageID: 193
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 65 of 122 PageID: 194
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 66 of 122 PageID: 195
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 67 of 122 PageID: 196
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 68 of 122 PageID: 197
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 69 of 122 PageID: 198
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 70 of 122 PageID: 199
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 71 of 122 PageID: 200
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 72 of 122 PageID: 201
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 73 of 122 PageID: 202
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 74 of 122 PageID: 203
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 75 of 122 PageID: 204
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 76 of 122 PageID: 205
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 77 of 122 PageID: 206
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 78 of 122 PageID: 207
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 79 of 122 PageID: 208
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 80 of 122 PageID: 209
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 81 of 122 PageID: 210
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 82 of 122 PageID: 211
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 83 of 122 PageID: 212
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 84 of 122 PageID: 213
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 85 of 122 PageID: 214
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 86 of 122 PageID: 215
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 87 of 122 PageID: 216
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 88 of 122 PageID: 217
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 89 of 122 PageID: 218
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 90 of 122 PageID: 219
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 91 of 122 PageID: 220
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 92 of 122 PageID: 221
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 93 of 122 PageID: 222




  CERTIFICATE OF SERVICE

  Amended petition to cancel a trademark registration
  Cancellation #92057071
  July 8, 2013

  Registrant
  Mr. William H. Howard
  104 So. Glenwood Avenue
  Aldan, PA 19018-4016

  Email address
  Whoward123@comcast.net
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 94 of 122 PageID: 223
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 95 of 122 PageID: 224
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 96 of 122 PageID: 225
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 97 of 122 PageID: 226
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 98 of 122 PageID: 227
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 99 of 122 PageID: 228
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 100 of 122 PageID: 229
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 101 of 122 PageID: 230
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 102 of 122 PageID: 231
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 103 of 122 PageID: 232
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 104 of 122 PageID: 233
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 105 of 122 PageID: 234
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 106 of 122 PageID: 235
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 107 of 122 PageID: 236




                                   EXHIBIT D

           David S. Beasley Motion and Brief in Support of Cancellation

                            Cancellation No. 92057071
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 108 of 122 PageID: 237


                                           Trademark Trial and Appeal Board Electronic Filing System. http://estta.uspto.gov
                                                                 ESTTA Tracking number:           ESTTA606210
                                                                               Filing date:         05/26/2014
                       IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                         BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD
      Proceeding       92057071
      Party            Plaintiff
                       David S. Beasley
      Correspondence   DAVID S BEASLEY
      Address          1801 LAUREL ROAD, UNIT 612
                       LINDENWOLD, NJ 08021
                       UNITED STATES
                       dbea856005@aol.com
      Submission       Opposition/Response to Motion
      Filer's Name     David S. Beasley
      Filer's e-mail   dbea856005@aol.com
      Signature        /David S Beasley/
      Date             05/26/2014
      Attachments      MIS5_26_14.pdf(510720 bytes )
                       GAMBLE.pdf(191329 bytes )
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 109 of 122 PageID: 238



                       IN THE UNITED STATES PATENT AND TRADEARK OFFICE
                        BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD




   In the Matter of trademark Registration No. 4170469

   Cancellation No. 92057071                             )


   Defendant                                             )
   William H. Howard dba The Ebonys
                                                         )
                  v

   Plaintiff                                             )
   David S. Beasley



         MOTION TO CANCEL TRADEMAKE REGRISTRATION ON THE GROUNDS OF FRAUD

      Fraud in procuring a trademark registration occurs when an applicant knowingly makes false,

       material representations of fact in connection with the trademark application.


   he bases for this Motion are set forth in the in the accompanying Memorandum. Plaintiff, David S.

   Beasley hereby move this court to cancel Registration #4170469.


                                                                       Dated this 26th day of May, 2014




                                            CERTIFICATE OF SERVICE
   I hereby certify that a true and accurate copy of the forgoing (Memorandum in Support Motion to
   Cancel Registration) has been served on May 26, 2014, via email to William Howard, 104 S Glenwood
   Avenue, Aldan, PA 19018-4016 at the following email address: whoward123@comcast.net

                                                         By: David Beasley
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 110 of 122 PageID: 239



                         IN THE UNITED STATES PATENT AND TRADEARK OFFICE
                          BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD


   In the Matter of trademark Registration No. 4170469

   For the Mark: The Ebonys

   Defendant                                                )
   William H. Howard dba The Ebonys
                                                            )              MEMORANDUM IN SUPPORT
                   v

   Plaintiff                                                )                OF MOTION TO CANCEL
   David S. Beasley

   Cancellation No. 92057071                                )

                                                    FACTS

   Defendant, William Howard submitted an application for a Service Mark for Good and Services in the
    a e of The E o ys .


                                                 ARGUMENT

   1. The Ebonys were formed in 1969 by David Beasley/plaintiff and consist of four vocalists

   including himself; James Tuten (deceased) Clarence Vaughn and Jennifer Holmes.

   2. The Ebonys were officially signed with Assorted Music Records dba Philadelphia International

   Records in January 1971 and continue to receive quarterly royalty statements.

   3. Defe da t Willia    Ho a d was not and is not an original member or performed on any

   original live recordings of The Ebonys singing/performing group.

   4. David Beasley/ plaintiff egiste ed The E o ys     ith the “tate of Ne Je sey as Class 4 i

   1997 with a twelve (12) day lapse in 2013 due to mail processing. (Mark Reg. # 21286)

   5. David Beasley/ plaintiff continues to   a age goods a d se i es i ol i g the a e The

   E o ys . Da id Beasley/ plaintiff manages entertainment services in the nature of live

   performances by vocalist; entertainment in the nature of vocal music groups; and live performances

   by musical groups.
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 111 of 122 PageID: 240




   6. David Beasley/ plaintiff e e eli    uished i    iti g o   e ally his ights of the The E o ys

   name to defendant, any other individual and/or group to provide profit to themselves for services

   or goods.

   7. David Beasley/ petitioner continues with on-going projects as an original member/owner

   of the The E o ys name.

   8. David Beasley/ petitioner continues to acknowledge and receive all correspondence as it relates

   to royalty statements and W-9 IR“ fo     as e ui ed fo The E o ys .

   9. Kenneth Gamble, Chairman/President of Philadelphia International Records o fi       s The

   E o ys      a e as de i ed y Da id Beasley/ petitioner personally. (Letter attached)



                                                 CONCLUSION
   For the reasons stated above, Plai tiff’s Motio to Cancel Registration #41704698 request should be
   granted.

                                                                           Dated this 25th day of May, 2014




                                            CERTIFICATE OF SERVICE
   I hereby certify that a true and accurate copy of the forgoing (Memorandum in Support Motion to
   Cancel Registration) has been served on May 26, 2014, via email to William Howard, 104 S Glenwood
   Avenue, Aldan, PA 19018-4016 at the following email address: whoward123@comcast.net

                                                            By: David Beasley
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 112 of 122 PageID: 241
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 113 of 122 PageID: 242
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 114 of 122 PageID: 243
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 115 of 122 PageID: 244




                                   EXHIBIT E

                          David S. Beasley’s Final Brief

                            Cancellation No. 92057071
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 116 of 122 PageID: 245


                                            Trademark Trial and Appeal Board Electronic Filing System. http://estta.uspto.gov
                                                                  ESTTA Tracking number:           ESTTA624503
                                                                                Filing date:         09/01/2014
                       IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                         BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD
      Proceeding       92057071
      Party            Plaintiff
                       David S. Beasley
      Correspondence   DAVID S BEASLEY
      Address          1801 LAUREL ROAD, UNIT 612
                       LINDENWOLD, NJ 08021
                       UNITED STATES
                       dbea856005@aol.com
      Submission       Brief on Merits for Plaintiff
      Filer's Name     David S. Beasley
      Filer's e-mail   dbea856005@aol.com
      Signature        /David S. Beasley/
      Date             09/01/2014
      Attachments      petition for cancellation9_1_14.pdf(672882 bytes )
                       9_1_14SUPPORTDOC.pdf(124809 bytes )
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 117 of 122 PageID: 246


                        IN THE UNITED STATES PATENT AND TRADEARK OFFICE
                        BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD,


   In the Matter of trademark Registration No. 4,170,469

   For the Mark: The Ebonys

   Petitioner
   David S. Beasley
   1801 Laurel Road Unit 612
   Lindenwold, NJ 08021

             V.

   Registrant
   William H. Howard
   104 S. Glenwood Avenue
   Aldan, PA 19018-4016

   Cancellation No. 92057071

   AMENDED PETITION TO CANCEL A TRADEMARK REGRISTRATION.

   David Beasley the petitioner believes that he will be damaged by the above-identified registration,

   and hereby petitions to cancel the same.

   The Grounds for Cancellation are as follows:

                                                  Fraud

      Fraud in procuring a trademark registration occurs when an applicant knowingly makes false,
       material representations of fact in connection with the trademark application.

                                                  Facts

   Defendant, William Howard submitted an application for a Service Mark for Good and Services in
   the name of The Ebonys

   1. William Howard the registrant has known David Beasley the petitioner more than thirty-five year

   and did knowingly apply for a trademark registration making false material representations.

   2. The Ebonys were formed in 1969 by David Beasley/petitioner and consist of three vocalists

   including himself; James Tuten (deceased) Clarence Vaughn and Jennifer Holmes.

   3. The Ebonys were officially signed with Assorted Music Records dba Philadelphia International

   Records in January 1971 David Beasley/petitioner receives quarterly royalty statements and all
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 118 of 122 PageID: 247



   correspondence for distribution to original members.

   4. Registrant was not and is not an original member or performed on any original live recordings of

   The Ebonys singing/performing group.

   5. David Beasley/petitioner registered The Ebonys trademark with the State of New Jersey as

   Class 041 in 1997 and continues to maintain its current status.

   6. David Beasley/petitioner continues to manage goods and services as The Ebonys . David

   Beasley/petitioner manages entertainment services in the nature of live performances by vocalist;

   entertainment in the nature of vocal music groups; and live performances by musical groups. David

   Beasley/petitioner continues with on-going projects as the creator and original member/owner of

   the The Ebonys name.

   7. David Beasley/petitioner never relinquished to William Howard/registrant in writing or

   verbally the rights of the The Ebonys name; or to any other individual and/or group .to provide

   profit to themselves for services or goods.

                                               CONCLUSION
   For the reasons stated above, Petitioner Motion to Cancel Registration #41704698 request should be
   granted.




   By: David S. Beasley                                                  Date: September 1, 2014
       Petitioner
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 119 of 122 PageID: 248




                                            CERTIFICATE OF SERVICE
   I hereby certify that a true and accurate copy of the forgoing has been served on September 1, 2014, via
   email to William Howard, 104 S Glenwood Avenue, Aldan, PA 19018-4016 at the following email
   address: whoward123@comcast.net

                                                                           By: David S. Beasley
                                                                               David S. Beasley
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 120 of 122 PageID: 249
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 121 of 122 PageID: 250
Case 1:19-cv-11058-NLH-KMW Document 8-7 Filed 06/11/19 Page 122 of 122 PageID: 251
